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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RICHARD MEJIA, individually and on behalf
of all others similarly situated,

                                Plaintiff,                          ORDER

                    -against-                                   22 Civ. 3566 (ER)

DOCTOR ON DEMAND, INC.,

                                Defendant.



         On June 7, 2022, Doctor On Demand, Inc. (“Doctor On Demand”) submitted a letter

requesting a pre-motion conference for its anticipated motion to dismiss. See Doc. 8. �e

conference scheduled for June 17, 2022 at 10:00 a.m. is hereby adjourned. Richard Mejia’s

request for leave to ﬁle an amended complaint no later than July 7, 2022 is granted. See Doc. 11.

Doctor On Demand’s request for leave to ﬁle a motion to dismiss is granted. �e brieﬁng

schedule is as follows: papers due July 28, 2022; opposition due August 18, 2022; and reply due

August 25, 2022.

         SO ORDERED.

Dated:    June 16, 2022
          New York, New York
                                                                 Edgardo Ramos, U.S.D.J.
